                                                                                       US.*-"         -VV
                                                                                       & DEC i 8 2018 ^
BROWN GAVALAS & FROMM LLP
Attorneys for Movant                                                                    BROOKLYN Cv'r --'
AMERICAN STEAMSHIP OWNERS
MUTUAL PROTECTION AND
INDEMNITY ASSOCIATION, INC.
555 Fifth Avenue
New York, NY 10017
Tel: (212) 983-8500
Fax:(212)983-5946

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                              «ffTn^i i              Ch       Q A £\

                                                         No.: 18-mc-
In Re: Motion to Quash Subpoena issued to
American Steamship Owners Mutual                                        MATCI IMOTH               I
Protection and Indemnitv
               Indemnity Association. Inc.
                         Association, Inc                               MA I oUlVlU I U, J.
dated December 17, 2018.

                                              -X


                                  NOTICE OF MOTION TO
                            QUASH SUBPOENA DUCES TECUM


       PLEASE TAKE NOTICE, that upon the accompanying Declaration of Donald R. Moore

dated December 26, 2018, the Declaration of David H. Fromm, Esq. dated December 27, 2018,

the exhibits annexed thereto, and the Memorandum of Law, the Movant, AMERICAN

STEAMSHIP OWNERS MUTUAL PROTECTION AND INDEMNITY ASSOCIATION, INC.,

by and through their attorneys, BROWN GAVALAS & FROMM LLP, will move this Court at

the United States District Court for the Eastern District of New York, located at 225 Cadman

Plaza East, Brooklyn, New York 11201, onthe 11th day of January, 2019 at 10:00 a.m., or as

soon thereafter as the business of the Court allows, for an Order pursuant to Rule 45(d) of the

Federal Rules of Civil Procedure, quashing the subpoena duces tecum served by Pacific Gulf

Shipping Co. on the grounds that the subpoena was not authorized by the United States District

Court for the District of Oregon in the Supplemental Admiralty Rule B Attachment proceeding
from which it was issued, is unduly burdensome, is impermissibly overbroad, fails to allow a

reasonable time to comply, and seeks privileged and confidential documents and

communications. The Movant also seeks such further and different relief as the Court deems just

and proper.

       PLEASE TAKE FURTHER NOTICE that the Movant reserve the right to file and serve

reply papers if necessary.

Dated: New York, New York
       December 28, 2018

                                                   Respectfully submitted,

                                                   BROWN GAVALAS & FROMM LLP
                                                   Attorneys for Movant
                                                   AMERICAN STEAMSHIP OWNERS
                                                   MUTUAL PROTECTION AND
                                                   INDEMNITY ASSOCIATION, INC.




                                                   D?rf\<ZWTr6mm (DF-9334)
                                                     [ichael ?. Naughton (MN-6870)
                                                   555 Fifth Avenue
                                                   New York, New York 10017
                                                   Tel: (212) 983-8500
                                                   Fax: (212) 983-5946
